
Judge Brooke
pronounced the opinion of the court.
The deed offered in evidence to the jury being essentially different from the deed set forth in the conusance and replication of the defendant, the court is of opinion that the cc?unty court erred in not instructing the jury (upon the application of the counsel for the plaintiff) that it was inadmissible evidence ; and approves of the judgment of the district court, so far as it reversed the judgment of the county court; but is also of opinion that the district court erred in not sending the cause back to the county court for further proceedings to be had therein, with an instruction that the deed was inadmissible evidence. The judgment of the district court must, therefore, be revez-sed, and the cause now sent back to the supei-ior court of the county, where the vei-dict and judgment must be set aside, a venire facias de novo awarded, and the cause §ent to the county court with the foregoing instruction.
